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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. 1:20-ev-03024 . =
FILED

UNITED STATES D
WAZIR ALI MUHAMMAD, ‘ DENVER COLONADO OURT
Plaintiff, FEB 22 2021

V.

JEFFREY P. COLWELL
CLERK

 

| ;
WAKEFIELD AND ASSOCIATES, UCHEALTH UNIVERSITY
OF COLORADO HOSPITAL, EXPERIAN CONSUMER
REPORTING AGENCY, TRANSUNION CONSUMER
REPORTING AGENCY, AND EQUIFAX CONSUMER
REPORTING AGENCY,

Defendants.

 

STIPULATION OF DISMISSAL WITH PREJUDICE

 

Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), it is hereby stipulated and
agreed by and between Plaintiff, Wazir Ali Muhammad, and Defendant Equifax Information
Services LLC, incorrectly named as Equifax Credit, (“Equifax”) that the above-titled action is
hereby dismissed with prejudice as to Defendant Equifax. Each party will bear their own costs

and attorney’s fees.

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Dated: February 5, 2021

672741 12v.1

Respectfully submitted,

Nani Mulamua -

Wazir Ali Muhammad, Pro Se P}éintiff

 
 

/s/ Jeremy A Moseley

Jeremy A. Moseley

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Equifax Information Services LLC
